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AO 245B (Rev. 06/05) Judgment in a Criminal Case mo u obs
Sheet 1 LG:ms

 

 

 

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UNITED STATES DISTRICT CB8RF=====—22
Southern District of Mississippi

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.

JAMES FORD SEALE

 

 

 

 

Case Number: = 3:07cr9HTW-JCS-001
USM Number: 09193-043

 

 

 

 

 

 

Kathy Nester
200 8. Lamar St., Ste. 100-S, Jackson, MS 39201
Defendant's Attorney:

THE DEFENDANT:

Li pleaded guilty to count(s)

LC] pleaded nolo contendere to count(s)
which was accepted by the court.

U was found guilty on count(s) One, two, and three
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 1201(c) Kidnaping; Conspiracy 12/3 1/66 1
18 U.S.C. § 1201 (a) Kidnaping 12/31/66 2
18 U.S.C, § 1201{a) Kidnaping 12/31/66 3

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

(] The defendant has been found not guilty on count(s)

CO Count(s) C] is (21 are dismissed on the motion of the United States.

 

_,,_ itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid’ If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

August 24, 2007

Date of Imposition of Judgment

 

Signature of Judge

The Honorable Henry T. Wingate Chief U.S. District Court Judge
Name and Title of Judge

 

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AO 245B (Rey. 06/05) Judgment in Criminal Case
Sheet 2 -— Imprisonment

Judgment —- Page 4 of
DEFENDANT: JAMES FORD SEALE
CASE NUMBER: 3:07cr9HTW-JCS-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

LIFE as to each of Counts 1, 2, and 3

iw The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant be incarcerated at a facility which can accomodate his medical needs.

rd The defendant is remanded to the custody of the United States Marshal.

£] The defendant shall surrender to the United States Marshal for this district:
C at Oam 0 pm on
Cl as notified by the United States Marshal.

 

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

(4 before 2 p.m. on

 

[] as notified by the United States Marshal.

(C3 sas notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
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AOQ245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 3 of 4

 

DEFENDANT: JAMES FORD SEALE
CASE NUMBER: 3:07er9HTW-JCS-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $300.00
$100.00 per count
[1] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case will be entered

after such determination.
[] The defendant must make restitution (including community restitution} to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shail receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C, § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

TOTALS $ 0.00 ¢ 0.00

 

C1 sRestitution amount ordered pursuant to plea agreement §$

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). Ali of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

() The court determined that the defendant does not have the ability to pay interest and it is ordered that:
CL) the interest requirement is waived forthe 1] fine (7 restitution.

(1 the interest requirement for the O] fine [) restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, £10, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996,

 
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 4 of 4

DEFENDANT: JAMES FORD SEALE
CASE NUMBER: 3:07cr9HTW-JCS-001

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A (@& Lump sumpayment of $ _300.00 due immediately, balance due
LC] not later than , or

(1 inaccordance Oc OF dD, O Eo [J F below; or

B [( Payment to begin immediately (may be combined with ([]C, CL] D,or ([)F below); or
C ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), te commence (e.g., 30 or 60 days) after the date of this judgment; or
D [ Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
30 month(s) (e.g., months or years}, to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F () Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[J Joint and Several

Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

CJ) The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
ties, and (8) costs, including cost of prosecution and court costs.

(5) fine interest, (6) community restitution, (7) pena

 
